Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 1 of 10 PageID# 1




                                                       1:18cv853 (CMH/MSN)
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 2 of 10 PageID# 2
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 3 of 10 PageID# 3
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 4 of 10 PageID# 4
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 5 of 10 PageID# 5
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 6 of 10 PageID# 6
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 7 of 10 PageID# 7
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 8 of 10 PageID# 8
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 9 of 10 PageID# 9
Case 1:18-cv-00853-CMH-MSN Document 1 Filed 07/24/18 Page 10 of 10 PageID# 10
